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                   EXHIBIT F
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 Report Version:
 8/10/2017 Security Orders

           ATTENTION: Please read this full document to avoid
              miscommunication or organizational issues.

 Final Operation Order Summary:
 The city of Charlottesville has told us we must move our rally to McIntire
 Park while still allowing the counter protesters to keep their permits nearby.
 Our legal team has filed an injunction and we are waiting to see if we are
 given an emergency hearing or not. Regardless of the outcome, we will be
 at Lee Park on Saturday. It is highly important to keep a close eye on
 communications as things could change by the hour throughout the entire
 weekend.

 Friendlies:
 We are expecting to have between 800-1400 friendly people attend this
 rally ranging from Alt-Lite, Oath keepers, Proud Boys, and Trumpists to
 Identitarians, Neo-Confederates, national socialists and other Alt Right
 groups. It is important that every group regardless of ideological differences
 work together at the event.
 1 Platoon – TiborSzalasi-MI#7217
  st


 2 Platoon - RCO Nick-TX#8823
  nd


 3 Platoon – FashoSlav
  rd


 4 Platoon – McCarthy
  th




 Enemies/Counter Protesters:
 We have been monitoring Antifa and other leftist activities for months
 leading up to the event and are anticipating well over 3000 counter
 protesters from across the country. These groups range from local
 Charlottesville residents or students from UVA to full-fledged Antifa
 members and groups.
 Also, there are the potential of enemies within the right from our own ranks.
 Various Proud Boys and White Nationalist groups are coming to the event
 as opposition in unknown numbers with unknown intentions.
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 Emergency Contact Information/Comms:
 Leading up to the event I am releasing my direct contact information to
 leaders and directors.
 Eli Mosley – Discord, Eli Mosley#5269 – Phone Number, (347) 868-7023 –
 Email, DeplorableTruth@gmail.com. Feel free to msg/call whenever.

 There will be a follow up comms document and maps handed out at the
 Friday night leadership meeting.

 Discord:
 On the day of the rally please keep discord and @everyone tags clear
 outside of critical information sharing. This document will be posted and
 pinned in the #LeadershipDocument channel. If you need access message
 Wyatt with your role.

 Doxing/Security Concerns:
 The day of the rally it is imperative that everyone realizes they risk being
 doxed simply for being in town that day. We advise you shut down at least
 temporarily any social media that may comprise you to limit the chances.
 DO NOT use credit/debit cards or checks in any stores in or outside of
 town. Use cash only. Assume every store clerk within an hour radius of the
 town are hostile. Realize that everyone around you will be recording so
 come up with nicknames for people to help prevent doxing.
 It is important that you stay in teams at all times on Friday and Saturday.
 We do not want anyone getting hurt so please do not stray from your group
 or if you have no group find one ASAP.

 Women:
 We strongly encourage women to stay off the front lines and help setup
 with the after party. Within the Wheatfield Dwellers chat on the night of
 Friday the location for the alternative location will be given to vetted
 women. The plan will be for women (and others) not attending to help
 support our efforts on social media, intel gathering, and preparing for the
 after party.
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 Weather:
 We are monitoring that it could potentially rain Friday and/or Saturday. Stay
 tuned for potential changes depending on the weather and be prepared.
 The current forecast is for scattered thunderstorms on Friday and Saturday.

 Medical:
 Medical teams will meet up and speak on Friday night at the leadership
 meeting. If you are part of the medic team please come to the leadership
 meeting before the torchlight rally.

 Legal:
 Overall: After the rally we will be creating a channel for legal
 help/questions/requests only. As long as you are within the rules set by the
 event we will get our team to help you. We will be putting out a general
 legal fund on Wednesday that will be for the permit case, potential cases
 against businesses, and incidents that occur at the rally.

 Permit: All that everyone needs to know right now is that we are working
 with a team of various lawyers in advising us and trying to reverse the city
 forcing us to McIntire Park. We are operating under the idea that we will
 most likely win this case and the police forced to go through with our initial
 plan, but also preparing for that not to happen.

 Lodging/AirBnB Cancellations: We are aware that many of you have had
 your lodging canceled. We understand this is a huge issue and we are
 working with the legal team on trying to remedy this ASAP, but operate
 under the assumption that you will not get that money (right away) or
 reservation back. We encourage anyone with extra space to reach out to
 help these people. We may bring a legal case forward in relation to these
 and other tools at our disposal afterwards.

 Incidents at the Rally: If you are arrested at the rally or for something
 directly related to the rally we will have money and a legal team set aside
 for you after. It is important that you get in touch with the organizers (Eli
 Mosley or Jason Kessler) ASAP if that happens. We will only be able to
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 help people who follow the rules and stick to the plan so please understand
 that as you read on in the document.

 IMPORTANT: If we lose our court case and have to initiate plan red or
 have to take the ground by force with plan yellow it is VERY important that
 people realize that any court case will be incredibly difficult regardless how
 in the right we are. Keep this in the back of your mind as if you are arrested
 your identity will also be revealed by local records.

 Packing List and Equipment Information:
 Guns/Open Carry/Closed Carry: We will not prevent anyone from carrying
 their weapons LEGALLY, but will discourage anyone from bringing one
 who is not up to date on VA state laws. Essentially, if you use your weapon
 it will become the highlight of the rally and the movement as a whole, they
 will go through your social media and attempt to charge you with a hate
 crime regardless of how in the right you are to self-defense. Our protection
 overall will be from our numbers and the people who are
 experienced/trained with a firearm (and potentially the police, more below).
 So bring a weapon if you have absolute confidence in yourself and the risks
 involved. Consult this link for more info: https://www.nraila.org/gun-
 laws/state-gun-laws/virginia/

 Knives/Tasers: We are not going to bring any knives or Tasers with us to
 this rally. After consulting our legal advisors and reviewing VA State law
 and local laws there is no reason for us to risk having them. This includes
 switch blades, bowie knives, and machetes. If you do have a knife and end
 up using it we will not be able to provide legal help through our team.

 Masks/Facecoverings/Gas Masks: These are all incredibly illegal in VA and
 we expect the police to vigorously uphold this law regardless of their status.
 With that being said, if you do have a respirator or small gas mask you may
 bring it, but keep it concealed. This could be taken away, you could be
 arrested for it, and you probably won’t need it, but if you feel safer or have
 a medical condition where it makes sense we will not keep you from having
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 one. If you do get in legal trouble for the mask our legal team will most
 likely be unable to help depending on the circumstances.

 Flags/Flagpoles/Shields: The police have not given us any solid guidelines
 on these. We recommend not using wood sticks or anything else that could
 be deemed a weapon, but instead you should use a hollow plastic pipe or
 something light. If a fight breaks out you should try to avoid using your flag
 as a weapon if possible. Shields should be brought but could be
 confiscated by the police. Comply with all police orders in relation to the
 shields and do not use them as offensive weapons. The key to keeping out
 of trouble is using them as defensive tools only.

 Helmets: We recommend you bring or wear something to protect your
 head. DO NOT include a helmet with a facemask or anything that can be
 grabbed onto by others.

 Pepper Spray: You may bring pepper spray but under your own risk and it
 is highly discouraged. Pepper Spray is legal in VA but if it hits a bystander
 or a bystander claims to have been hit you can be charged. If you feel you
 must have pepper spray you should use the gel type to provide more
 accuracy.

 Water/food Source: It is EXTREMELY important that you bring a water
 source as we no longer have a guaranteed area for our water coolers. It will
 be very hot that day and/or it could be raining. We recommend a
 Camelback system if possible.

 Tiki Torches/Oil: The torchlight part of the rally is still secret, but people
 should bring as many of these as we can for the Friday night torchlight vigil.
 DO NOT hit any potential counter protesters with them, and we will have a
 disposal area for them on site.

 Rules of Engagement:
 It is extremely important that we avoid extreme violence at all costs outside
 of what is needed to defend our people. Do not aggress towards the
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 counter protesters or start any fights. If you are carrying follow the state law
 of VA and realize that if you use your weapon there is a high likelihood the
 court will treat you harshly/unfairly. Allow the police to do their job. As we
 saw at the KKK rally the police were incredibly hands on, and in our
 communications with them they know that the left are the ones looking to
 do violence.

 General Conduct:
 We would like to keep this rally as open and friendly as possible with the
 “Unite the Right” message which means we should refrain from being
 overly edgy for the sake of edginess. There will be no speech police on our
 side, but realize that we are trying to gain sympathy from whites and the
 general right wing. Please refrain from roman salutes during the rally and
 understand that cameras are all over the place at all times.

 Underage Drinking:
 We have a zero tolerance policy for anyone under 21 drinking at any point
 over the weekend. If you get booked they will know you are part of this rally
 and we could keep you from future events.

 Dangerous People List:
 Security will be handed a cheat sheet of dangerous people at the Friday
 night leadership meeting. The detailed version of this list will be published
 in the #LeadershipDocuments channel Thursday night.

 Social Media:
 Make sure you are following these accounts on twitter for updates:

 @awyattman88
 @NotEliMosley
 @TheMadDimension
 @occdissent
 @RichardBSpencer
 @NotMikeEnoch
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 Pay attention in Discord and those accounts to see the hashtags we are
 using. It will be important to make sure everyone not at the event is using
 their social media to amplify what is going on.

 Mission Summaries:
 We will have 3 separate plans right now depending on the circumstances of
 the day. The overall goal regardless of circumstances is to hold our rally at
 Lee Park, protect our VIPs and attendees, and get everyone out safe.
 There will be multiple decision points that could shift the working plan due
 to updates on the ground. We will proceed under the assumption that we
 are acting on Plan Green until we receive more information.

 Plan Green: This plan will be used if we have the police still on our side and
 willing to move forward with our original plan. It is most likely to be used if
 we win our court case for the permit.

 Plan Yellow: The police could potentially refuse to secure the area around
 Lee Park for us, and may not maintain a buffer between us and antifa. In
 this scenario we would need to accelerate our plans. This would happen if
 we don’t win the court case but police are either willing to provide some
 protections, or will stand down. The main changes will be getting as many
 of our people at Lee Park at 6 am to secure the grounds and starting the
 speeches earlier.

 Plan Red: The police will no longer provide protection and intend on being
 hostile to or arresting any of our people in Lee Park. but we will STILL be
 going to Lee Park. This plan is going to be incredibly dangerous and
 anyone still going could be arrested. We will essentially meet early at
 McIntire Park, do our speeches, and then anyone who wants to go to Lee
 Park will march there.
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 Plan Green Timeline:
 Friday:
 1900: Support staff will meet at Darden Towe Park to conduct leadership
 meeting and load the S-4 vehicle.
 2000: Optional gathering for general attendees at Darden Towe Park to go
 over rally plan and prep for torchlight march.
 2100: Leave Darden Towe Park
 2130: Rally at “Nameless Field”, Charlottesville, VA (DO NOT ARRIVE
 EARLY)
 2200: Step off from “Nameless Field” towards Jefferson Monument on UVA
 campus
 2215: Conduct torchlight demonstration
 2230-2245: Head back to “Nameless Field” and go back to cars.
 Saturday:
 0700 – CP setup, command briefing
 0730 - Support staff staying near the CP location will muster to load ice and
 water into the S-4 vehicle.
 0750 - The S-4 vehicle will depart for RP1.
 0800 – Security staff will report to RP1 for drill and briefing.
 0900 - all support, and medical staff along with the vehicles assigned to
 transport will muster at RP1 for briefing.
 0930 – Convoy with first wave of security departs RP1 for LOD.
 0950 – Convoy with second wave of security, and support staff, and
 support truck departs RP1 for LOD.
 1000 – Security steps off for Lee Park from LOD.
 1030 – Sound system setup, music begins.
 1030 – civilians begin to arrive at RP1.
 1030-1145 – Shuttle service for civilians runs from RP1 directly to Lee
 Park.
 1145 – Convoy returns RP1 for staging
 1500 – Shuttle service resumes.
 1615 – All civilians exfiled
 1630 – Support staff and first wave of security exfiled by shuttle to RP1.
 1645 – Only rear guard remains at Lee Park
 1700 – All personnel exfiled to RP1. Operation complete.
 1830+ – After Parties
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 Plan Yellow Timeline:
 Friday:
 1900: Support staff will meet at Darden Towe Park to conduct leadership
 meeting and load the S-4 vehicle.
 2000: Optional gathering for general attendees at Darden Towe Park to go
 over rally plan and prep for torchlight march.
 2100: Leave Darden Towe Park
 2130: Rally at “Nameless Field”, Charlottesville, VA (DO NOT ARRIVE
 EARLY)
 2200: Step off from “Nameless Field” towards Jefferson Monument on UVA
 campus
 2215: Conduct torchlight demonstration
 2230-2245: Head back to “Nameless Field” and go back to cars.
 Saturday:
 0500 – CP setup, command briefing
 0530 - Infiltration of plainclothes intel
 0515 - Support staff staying near the CP location will muster to load ice and
 water into the S-4 vehicle.
 0500 – Security staff will report to RP1 for drill and briefing.
 0500 - all support, and medical staff along with the vehicles assigned to
 transport will muster at RP1 for briefing.
 0530- Decision point
 0540 - The S-4 vehicle will depart for RP1.
 0540 - ADVON team, and medical staff depart RP1 for Lee Park
 0600 - 0800 ADVON team keeps the park area secure.
 0800 – Remainder of security depart RP1 for LOD
 0800-0930 Shuttles run from RP1 to LOD
 0930 - S-4 vehicle departs RP1 for LOD
 0940 - VIP’s arrive LOD
 0945 - Decision Point
 0945 - All step off for LOD
 1015 - Sound system setup, music begins.
 1000-1300 - Speakers
 1300-1330 - teardown, policecall
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 1330 - All step off for RP1
 1400 - All at RP1 operation complete

 Plan Yellow Contingency 1(Emergency Evacuation):
 T=0 - Contingency plan is initiated
 T+5 - Sound equipment hasty teardown complete.
 T+5 - S-4 vehicle leaves park for RP1, all personnel in tow. One platoon of security will
 lead the group while the last three provide rearguard.
 T+10 - Personnel outside the cordoned area. As the column walks toward RP1 the
 shuttles will begin to move personnel to RP1 to speed up exfil.
 T+25 - All personnel at RP-1. Operation complete.


 Plan Yellow Contingency 2(Dispersal order given):
 T=0 - Contingency plan is initiated
 T+15 - Support equipment teardown is complete.
 T+15 - S-4 vehicle leaves park for RP1, all personnel who do not wish to engage in civil
 disobedience in tow.
 T+25 - Personnel outside the cordoned area. As the column walks toward RP1 the
 shuttles will begin to move personnel to RP1 to speed up exfil.
 T+35 - All personnel at RP-1. Operation complete.

 Plan Red:

 0730 - Support and security staff arrive at Rally Point 1, and setup the
 sound system.

 0800 - All personnel arrive at Rally Point 1.
 0830 - 0930 - Condensed speaker roster.
 0930 - All personnel willing to engage in civil disobedience will step off for
 Lee Park to be arrested.
 1000 - Protestors in custody.
 1030 - Operation complete. All personnel who are not in custody will stand
 by for orders, including a possible protest at the police station or city hall.
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 Torchlight Rally:
 The Torchlight Rally will be at the Jefferson Monument near the UVA
 campus on Friday the 11 under cover of darkness. We will meet at 2130 in
                          th


 “Nameless Field” and march with our torches lit to the monument. Each
 person should bring their own torch which can be bought from a local Wall-
 Mart, Lowes, Home Depot, etc. Tiki torches are fine. Once on the grounds
 of the monument a speech will be given, we do some chants, then sing
 dixie, then put out the torches. We will then return to “Nameless Field” and
 back to our cars.

 Dixie:
 At the torchlight rally we will be singing the song “Dixie”. It is VERY
 important for everyone to learn this song and the lyrics. In
 #LeadershipDocuments and announcements we will put out the version we
 are using.


 Pre-Rally and Transportation:
 We will have plainclothes intelligence operatives on the ground first thing
 Saturday Morning. Small groups should and individuals should not travel to
 the park outside of the group transportation services. If the police do not
 intend to keep hostiles out of the park after our permit starts at 1000, we
 will send an ADVON team in as soon as the park opens to physically
 remove any hostiles, sweep for IED’s, and to keep the park clear for us.
 The details of the transportation plan will be released Friday evening.
 However, the general plan is that we will have a transportation Rally Point
 where people may park. EVERYONE SHOULD CARPOOL TO THE
 RALLY POINT. This is to reduce the number of vehicles that can be
 sabotaged, and to make the best use of the limited parking. The
 transportation team will shuttle people from that point to the gate of the
 park, or to the Line of Departure if our shuttles are not allowed to pass the
 police cordon.

 If we are not allowed to pass the police cordon in vehicles, we will form all
 forces at the Line of Departure and march into the park together, using the
 shield wall to keep hostile forces away from our civilians and HVT’s.
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 During the Rally:
 Due to the fluid situation we should not expect the police to maintain any
 type of barriers between us and the hostiles. Our security forces in form of
 the shield wall will be deployed in whatever manner is most effective to
 reduce the threat. Anyone not on the security and support staff should stay
 away from the edges of the park as well as the rear area of the park that is
 in enfilade from the hostile positions.

 Our port-a-johns have been cancelled as most people know, therefore the
 logistics of making head calls has been increased. Once the police confirm
 what places will be open to us for these purposes we will post them on the
 map. These locations will not be within the secured area, so everyone is
 advised to move in groups of at least 10. If you need to use the head,
 gather at the Southeast Entrance of the park and wait until you have
 enough people to safely traverse the area.

 During the Rally (if you cannot go or for Women):
 For anyone who cannot attend the rally but will be in Cville we will have two
 different things for you to do. We’ll need volunteers to help man the radios
 and HQ section. Also, we see a high likelihood of violence during the rally
 so we recommend not bringing women and are banning all small children.
 We will have a place set aside for them to help setup the after party and
 monitor streams that will be released Thursday before the event. If you’d
 like to volunteer for HQ duty contact Eli Mosley.

 Leaving the Rally:
 Once the speakers have finished, we will teardown the support equipment
 and police call the area. Please do not leave any trash on the ground.
 Leave the area cleaner than you found it! If we are allowed to shuttle to the
 park directly we will begin running exfiltration convoys to the Rally Point
 until all civilians are evacuated, at which point the support and security staff
 will work in a rear guard action until all personnel are evacuated.

 If we are not allowed to shuttle directly to the park we will tear down all the
 equipment, and march of of the park to an exfiltration point outside of the
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 cordoned area. Once at the exfiltration point we will have the shuttle
 service return everyone to the rally point while security fights a rearguard
 action.

 When you are leaving the rally in your personal vehicle do not travel
 directly to the afterparty location or to your lodging. Take basic evasive
 maneuvers, get on a highway for several miles and get off, have your
 passengers check for vehicles following you. If you suspect a vehicle is
 following you, pull off the road in a well populated area, like a grocery store
 parking lot and call the police if the vehicle follows you into and out of the
 parking lot.

 It is of our upmost concern that our afterparty location is not compromised,
 so take every precaution to ensure you are not followed.

 After Party:
 The information about the after party is being kept incredibly secret right
 now mainly for obvious opsec reasons.

 Our two original after party locations were both pulled as well as the food
 due to the leftist networks bullying local business. We will still be having an
 after party but will need to be more exclusive about who can come because
 of the size of our new venue. Anyone who purchased a ticket already can
 come, any leadership or VIPs can come as well, but after midnight 8/10 we
 are shutting down all ticket sales to prevent overflowing the venue we did
 get. Obviously this is not ideal and we encourage groups to have their own
 parties as well.
 You may use THIS link to send the money through PayPal. Send a note
 with your payment letting us know what name or email you want on the
 guest list.
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 Conclusion:
 The main things to note are to keep attention to communications, everyone
 stay safe, be ready for rapid and constant change, and our next time hack
 will be 1900 at Darden Towe Park for leadership only. A follow up
 document will accompany this for general attendees.
